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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

 SHAWN SHERMAN,

                            Plaintiff,

 vs.                                         CASE NO. ________________________

 MEDICREDIT, INC.,

                      Defendant.
 ___________________________________/

                                   COMPLAINT
                                  JURY DEMAND

                                  INTRODUCTION

        1.     Plaintiff alleges that Defendant left pre-recorded voicemail messages

 for Plaintiff on Plaintiff’s cellular telephone in which Defendant failed to disclose

 its status as a debt collector in violation of the Fair Debt Collection Practices Act,

 15 U.S.C. § 1692 et seq. (“FDCPA”) and Telephone Consumer Protection Act, 42

 U.S.C. § 227 et seq. (“TCPA”).

                          JURISDICTION AND VENUE

        2.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331, 28 U.S.C.

 § 1367(a) and 47 U.S.C. § 227(b)(3).          See Mims v. Arrow Financial Services,




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 LLC, 132 S. Ct. 740 (2012). Venue in this District is proper because Plaintiff

 resides here and Defendant placed telephone calls into this District.

                                       PARTIES

        3.     Plaintiff, Shawn Sherman is a natural person and a citizen of the

 State of Florida, residing in Hillsborough County in the Middle District of Florida.

        4.     Defendant, Medicredit, Inc. is a foreign business corporation

 organized and existing under the laws of the State of Missouri with its principal

 place of business and corporate offices in Columbia, Missouri.

        5.     Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.     Defendant regularly collects or attempts to collect debts for other

 parties.

        7.     Defendant is a “debt collector” as that term is defined in the FDCPA.

        8.     Defendant was acting as a debt collector with respect to the

 collection of Plaintiff’s alleged debt.

        9.     Defendant is registered with the Florida Office of Financial

 Regulation as a Consumer Collection Agency.

                            FACTUAL ALLEGATIONS

        10.    Defendant sought to collect from Plaintiff an alleged debt arising

 from transactions incurred for personal, family, or household purposes.




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        11.     Defendant left the following pre-recorded messages on Plaintiff’s

 voice mail on his cellular telephone on or about the dates stated:

                April 3, 2015 at 4:35 PM
                We are calling from MediCredit on behalf of Town n Country
                Hospital. Please return our call at 800-823-2318 Monday
                through Friday during normal business hours. Thank you.

                April 29, 2015 at 3:06 PM
                We are calling from MediCredit on behalf of Town n Country
                Hospital. Please return our call at 800-823-2318 Monday
                through Friday during normal business hours. Thank you.

                May 12, 2015 at 1:45 PM
                We are calling from MediCredit on behalf of Town n Country
                Hospital. Please return our call at 800-823-2318 Monday
                through Friday during normal business hours. Thank you.

        12.     Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).

        13.     The telephone messages are “communications” as defined by 15

 U.S.C. § 1692a(2). See Belin v. Litton Loan Servicing, 2006 U.S. Dist. LEXIS

 47953 (M.D.Fla. July 14, 2006) (holding that messages left on the debtor’s

 answering machine were “communications” under the FDCPA).

        14.     Defendant failed to disclose the caller’s name, the nature of its

 business, or that is a debt collector in the telephone messages.

        15.     Defendant used an automatic telephone dialing system or a pre-recorded

 or artificial voice to place numerous telephone calls to Plaintiff’s cellular telephone

 within four years of this Complaint.



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        16.      None of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C. § 227 (b)(1)(A).

        17.      Plaintiff’s cellular telephone number is 813-XXX-3740.

        18.      Plaintiff is the regular user and carrier of the cellular telephone number

 813-XXX-3740.

                          COUNT I
    FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY
         IN VIOLATION OF THE FDCPA, 15 U.S.C. § 1692d(6)

        19.      Plaintiff incorporates Paragraphs 1 through 18 above as if fully set

 forth herein.

        20.      Defendant placed telephone calls to Plaintiff without making meaningful

 disclosure of its identity when it failed to disclose caller’s name and the nature of

 Defendant’s business in violation of 15 U.S.C. §1692d(6). See Dokumaci v. MAF

 Collection Services, 2011 U.S. Dist. LEXIS 22390, *8 (M.D. Fla. Mar. 4, 2011) (“Courts

 have defined ‘meaningful disclosure’ to include disclosure of the caller’s name, the debt

 collection company’s name, and the nature of the debt collector’s business.”).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

                 a. Damages;

                 b. Attorney’s fees, litigation expenses and costs of suit; and

                 c. Such other or further relief as the Court deems proper.

                           COUNT II
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR


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                      IN VIOLATION OF 15 U.S.C. § 1692e(11)

           21.   Plaintiff incorporates Paragraphs 1 through 18 above as if fully set

 forth herein.

           22.   Defendant failed to disclose in the telephone messages that it is a

 debt collector in violation of 15 U.S.C. §1692e(11). See e.g., Foti v. NCO Fin.

 Sys., 424 F. Supp. 2d 643, 646 (S.D.N.Y. 2006); Belin v. Litton Loan Servicing,

 2006 U.S. Dist. LEXIS 47953 (M.D.Fla. 2006); Leyse v. Corporate Collection

 Servs., 2006 U.S. Dist. LEXIS 67719 (S.D.N.Y. 2006).

           WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

                 a. Damages;

                 b. Attorney’s fees, litigation expenses and costs of suit; and

                 c. Such other or further relief as the Court deems proper.

                           COUNT III
   AUTOMATED OR PRE-RECORDED CALLS TO PLAINTIFF’S CELLULAR
    TELEPHONE IN VIOLATION OF THE TCPA, 47 U.S.C. § 227 (b)(1)(A)(iii)

           23.   Plaintiff incorporates Paragraphs 1 through 18 above as if fully set forth

 herein.

           24.   Defendant placed non-emergency telephone calls to Plaintiff’s cellular

 telephone using an automatic telephone dialing system or pre-recorded or artificial voice

 in violation of 47 U.S.C. § 227 (b)(1)(A)(iii).




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        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

                a. Damages;

                b. A declaration that Defendant’s debt collection practices violate the

                    TCPA;

                c. A permanent injunction prohibiting Defendant from placing non-

                    emergency calls to the cellular telephone of Plaintiff using an

                    automatic telephone dialing system or pre-recorded or artificial voice

                    of the called party; and engaging in the complained of practices; and

                d. Such other or further relief as the Court deems proper.

                                    JURY DEMAND

        Plaintiff demands trial by jury.

                                              /s/ James S. Giardina
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